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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: July 12, 2019              Time: 13 minutes for        Judge: SUSAN ILLSTON
                                  motion & 10 minutes for
                                  cmc
 Case No.: 19-cv-00565-SI         Case Name: Avaya Inc. v. Raymond Bradley Pearce, et al.



Attorney for Plaintiff: Lyndsey Heaton, Zachary Alinder
Attorney for Defendant: Jeffrey Berman (phone), Michelle Landry and Maria Nozzolino

 Deputy Clerk: Tracy Kasamoto                          Court Reporter: Belle Ball


                                        PROCEEDINGS

   1)    Motions to Dismiss [76][77] – HELD
   2)    Initial Case Management Conference - HELD

Order to be prepared by: ( )Pltf ( )Deft ( x )Court

Tentative Disposition on Motion : ( ) GRANTED, ( ) DENIED, ( ) GRANTED/DENIED IN
PART, ( x ) SUBMITTED

Case continued to 10/18/19 @ 10:00 a.m. for Further Case Management Conference

Case continued to 10/18/19 @ 10:00 a.m. for Motions to Dismiss Dkt. Nos. 70 & 86
Plaintiff to file supplemental brief on 9/20/19 and defendant to file supplemental brief on
10/4/19.

Case continued to 3/15/21 @ 10:00 a.m. for Motions
(Motion filing deadline: 1/15/21)

Case continued to 5/18/21 @ 3:30 p.m. for Pretrial Conference

Case continued to 6/1/21 @ 8:30 a.m. for Jury Trial ( Days)
Deadline to Amend Pleadings: 12/16/19, Discovery Cutoff: 7/6/20, Designate Experts by: 8/3/20,
Rebuttal Experts: 9/8/20, Expert Discovery Cutoff: 11/2/20, Deadline to file discovery motion:
12/1/20.


                                         SUMMARY
Counsel shall keep the Court informed as to the status of the criminal investigation of defendant
Raymond Pearce. The discovery is stayed as to Raymond Pearce.
